                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 UNITED STATES OF AMERICA,                           )
                                                     )
                         Plaintiff,                  )
                                                     )
 v.                                                  )
                                                     )                 No. 3:20-CR-058-TAV-HBG
 EVERETT E. MILLER,                                  )
                                                     )
                         Defendant.                  )


                                  MEMORANDUM AND ORDER

         All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 § 636(b) for disposition or report and recommendation regarding disposition by the District Court

 as may be appropriate. This case is before the Court on Defendant Miller’s Motion to Continue

 [Doc. 19], filed on September 10, 2020.

         Defendant Miller requests for the Court to continue the September 22, 2020 trial date in

 this case, claiming that defense counsel needs additional time to conduct legal research relevant to

 the case and complete his investigation into the facts of the case, as well as to discuss these findings

 with Defendant. Further, the motion states that Defendant understands that the period of time

 between the filing of the motion and the rescheduled trial date shall be fully excludable for speedy

 trial purposes. The motion also relates that the Government does not object to the requested

 continuance. The parties have conferred with Chambers and agreed on a new trial date of January

 26, 2021.

         The Court finds the Defendant’s motion to continue the trial and other deadlines to be

 unopposed by the Government and to be well-taken. The Court also finds that the ends of justice

 served by granting a continuance outweigh the interest of the Defendant and the public in a speedy




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 trial. 18 U.S.C. § 3161(h)(7)(A). The Indictment [Doc. 12] charges Defendant with knowingly

 transporting an individual who has not attained the age of 18 years in interstate or foreign

 commerce, with the intent that the individual to engage in sexual activity, in violation of 18 U.S.C.

 § 2423(a), as well as committing felony sex offenses involving a minor while being required to

 register as a sex offender, in violation of 18 U.S.C. § 2260A. Assistant Federal Defender Jonathan

 Moffatt relates that he needs additional time to resolve pretrial matters and to prepare the case for

 trial. The Court finds that without a continuance, defense counsel would not have the reasonable

 time necessary to prepare for trial, despite counsel’s exercise of due diligence. See 18 U.S.C. §

 3161(h)(7)(B)(iv).

        Accordingly, Defendant’s unopposed motion [Doc. 19] to continue the trial date is

 GRANTED, and the trial is reset to January 26, 2021. The Court finds that all the time between

 the filing of the motion for a continuance on September 10, 2020, and the new trial date of

 January 26, 2021, is fully excludable time under the Speedy Trial Act for the reasons set forth

 herein. See 18 U.S.C. § 3161(h)(1)(D) & -(7)(A)-(B). With regard to additional scheduling in this

 case, the deadline for filing pretrial motions is extended to October 12, 2020. Responses to pretrial

 motions are due on or before October 26, 2020. The parties are to appear before the undersigned

 for a final pretrial conference on January 12, 2021, at 1:30 p.m. This date shall also be the

 deadline for concluding plea negotiations and providing reciprocal discovery. The Court instructs

 the parties that all motions in limine must also be filed no later than January 11, 2021. Special

 requests for jury instructions shall be submitted to the District Judge no later than January 15,

 2021, and shall be supported by citations to authority pursuant to Local Rule 7.4.

        Accordingly, it is ORDERED as follows:

                (1) The Defendant’s Motion to Continue [Doc. 19] is GRANTED;



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            (2) The trial of this matter is reset to commence on January 26,
            2021, at 9:00 a.m., before the Honorable Thomas A. Varlan, United
            States District Judge;

            (3) All time between the filing of the motion on September 10,
            2020, and the new trial date of January 26, 2021, is fully excludable
            time under the Speedy Trial Act for the reasons set forth herein;

            (4) The deadline for filing pretrial motions is extended to October
            12, 2020. Responses to pretrial motions are due on or before
            October 26, 2020;

            (5) The parties are to appear before the undersigned for a final
            pretrial conference on January 12, 2021 at 1:30 p.m. This date is
            also the deadline for concluding plea negotiations and for providing
            reciprocal discovery;

            (6) The Court instructs the parties that all motions in limine must be
            filed no later than January 11, 2021; and

            (7) Special requests for jury instructions shall be submitted to the
            District Judge no later than January 15, 2021, and shall be
            supported by citations to authority pursuant to Local Rule 7.4.

      IT IS SO ORDERED.


                                           ENTER:


                                           United States Magistrate Judge




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